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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CARL WILSON, an individual, Case No. CIV 94

and AUDREE WILSON, an
individual,

Plaintiffs,
Vv.

| HARPERCOLLINS PUBLISHERS,
INC., a Delaware corporation,

Defendant.

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PLAINTIFFS’ MEMORANDUM OF LAW IN
SUPPORT OF PLAINTIFFS’ OPPOSITION

TO MOTION FOR DISQUALIFICATION

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I. INTRODUCTION

In their attempt to disqualify Plaintiffs’ counsel,
Defendant distorts the New Mexico Rules of Professional Conduct.
Obviously, the primary purpose of Defendant in bringing its
motion for disqualification is not to prevent juror confusion but
to disrupt the orderly conduct of this litigation.

In fact, Defendant’s motion is moot since, concurrently with
the filing of this memorandum, counsel for Plaintiffs has
notified counsel for Defendant that Barry B. Langberg will not
testify at the trial of this matter. Since the facts set forth
in the declaration of Mr. Langberg filed in opposition to
Defendant’s summary judgment motion are readily available from
other witnesses not affiliated with Mr. Langberg’s firm,

Mr. Langberg will not testify at trial. Consequently, Plaintiffs
would expect counsel for Defendant to withdraw the motion to
disqualify. However, in the event that Defendant persists with
their motion, this Court should deny that motion since it is
without merit.

In complete disregard of the substance of the Langberg and
Drooz declarations, Defendant argues that these individuals are
ethically barred from serving as Plaintiffs’ advocates because
they are likely to be "necessary witnesses" who offer testimony
regarding "contested matters."

As will be demonstrated herein, Langberg is not a "necessary
witness" within the meaning of the Rules of Professional Conduct.
The matters averred to in the Langberg declaration can be adduced

at trial through the testimony of a third party who is not

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associated with the case and not a member of Langberg’s firm.
This individual is not only available to testify at trial but is
prepared -- here and now -- to provide a declaration which will
contain the same facts as those set forth in the Langberg
declaration.

Moreover, the substance of Langberg’s declaration relates to
matters that have not been, and cannot be, "contested" by
Defendant. Langberg simply identifies the types of evidence that
he was prepared to make available to HarperCollins prior to
publication. Neither the existence of this evidence -- much of
which is currently in Defendant’s possession -- nor Langberg’s
intention to deliver it to HarperCollins can be "contested."

As will be further demonstrated, Ms. Drooz is not subject to
disqualification since she is not actively involved in the
litigation, has never appeared before this Court and will not

represent Plaintiffs at trial.

II. DEFENDANT HAVE NOT CARRIED THE BURDEN TO ESTABLISH THE

APPROPRIATENESS OF DISQUALIFICATIONS UNDER THE STANDARDS OF
NEW MEXICO RULES OF PROFESSIONAL CONDUCT RULE 16-307.

A. The Burden To Establish The Appropriateness
Of Disqualification.

"The Court should be reluctant to disqualify attorneys
absent a showing of a ‘taint’ to the underlying trial, because
disqualification denies the client his choice of counsel, results
in delay, adds to litigation costs, and is often interposed for

tactical reasons. (citations omitted)" Gaull v. Wyeth

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Laboratories, Inc., 687 F. Supp. 77, 80 (S.D.N.Y¥. 1988). This

point was emphasized in Household Commercial Financial Services

Inc. v. Trump, 1995 U.S. Dist. Lexis 6921 (N.D. Ill. 1995):

"Although counsel should avoid appearing both

as an advocate and as a witness, motions to

disqualify should be viewed with extreme

caution because it is a drastic measure which

courts should hesitate to impose except when

absolutely necessary. (citations omitted)

* * *

If alternative evidence is available, defense

counsel certainly should not gain the

tactical advantage of disqualification of

plaintiff’s counsel."

In the face of the foregoing considerations, Defendant has

not satisfied their burden of proof with respect to this
disqualification motion.

B. Defendant’s Motion Is Irrelevant To This Summary

Judgment Proceeding.

Considering the reasons for Rule 3.7, Defendant’s motion is
essentially irrelevant. to this summary judgment proceeding. The
Court made the point in Relo Insurance Group, Inc. v. Salisbury,
1994 U.S. Dist. Lexis 6309 (N.D. Ill. 1994):

"To determine whether to allow an attorney to
appear as a witness and whether the situation

requires that the testifying attorney

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withdraw as counsel, the court should examine
the goals sought to be served by Rule 3.7.

* * *
In this case, most of these considerations
have little weight when plaintiff’s counsel
submits an affidavit at the summary judgment
stage of the litigation. The court is
unlikely to be confused by the attorney’s
dual role as advocate and witness and will
not erroneously grant testimony or weight to
the attorney’s arguments. Also, plaintiff
counsel’s credibility in the eyes of the
court will not be enhanced by his role as
counsel. (citations omitted)."

Cc. Rule 3.7 Applies Only To Representation At Time Of

Trial.

Defendant ignores the weight of authority that Rule 3.7
applies only to representation at the time of trial. Since, in
the case at bar, Mr. Langberg will not testify at the time of
trial, he will be able to continue to represent Plaintiffs in
this action. As the court stated in Caplan v. Fellheimer, supra,
page 711:

", . . the language of the rule itself, as
well as cases interpreting it, do not require
a lawyer to be disqualified from representing
a client even if Rule 3.7 is violated. The

rule only prevents a lawyer who will be a

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inc.

witness from acting as an ‘advocate at
trial.’

* * *
Ewing will, at the very least, be permitted
to continue to represent Caplan and
participate in all pre-trial and post-trial

matters. (citations omitted)"

This point was reaffirmed in Power Up v. Power Up U.S.A.,
1994 U.S. Dist. Lexis 11918 (E.D. La. 1994):
"The plain language of the rule itself
discusses the ‘advocate at trial’ and does
not mention other aspects of litigation. The
overriding policy behind the rule is to avoid
confusion and unseemliness at trial,
therefore there is no reason why
Mr. Redfearn, Jr. cannot participate in all
other stages of this proceeding."

In the case at bar, the motion to disqualify is irrelevant

to a summary judgment motion and all other stages of the

proceeding. Mr. Langberg will not testify at trial, so the

motion is also irrelevant with respect to the trial of this

matter. Simply stated, Defendant’s motion to disqualify should

be denied in its entirety.

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IIIT. MR. LANGBERG CANNOT BE DISQUALIFIED BECAUSE HE IS NOT A

"NECESSARY" WITNESS.

The essential facts attested to in the Langberg declaration
are also personally known to Jody R. Leslie, Esq., an attorney
associated with Mr. Langberg at the time of the Brian Wilson
Conservatorship proceedings but currently not associated with the
Langberg firm. Ms. Leslie was, along with Mr. Langberg,
primarily responsible for the conduct of the Brian Wilson
conservatorship proceeding on behalf of the petitioners and was
privy to the same information as Mr. Langberg (see Declaration of
Barry B. Langberg filed concurrently herewith). She is ina
position to testify as to these matters. In light of this fact,
it is apparent that the substance of Langberg’s testimony is
“obtainable elsewhere."

New Mexico Rule of Professional Conduct 16-307(a) provides

that, "A lawyer shall not act as an advocate at a trial in which

the lawyer is likely to be necessary witness. ..." (Emphasis
added.) It is well settled, however, that an attorney cannot be

deemed a "necessary" witness unless the substance of his
testimony is unobtainable elsewhere. As the court stated in

World Youth Day, Inc. v, Famous Artists Merchandising Exchange,
Inc., 866 F. Supp. 1297, 1302 (D. Colo. 1994):

"Rule 3.7’s predecessor is found in the Code
of Professional Responsibility DR5-102. Rule
3.7 is also the subject of a recent Colorado
Bar Association Ethics Committee opinion (the

opinion). [citations omitted] The opinion

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suggests the applicable test for determining
whether an attorney is ‘likely to be a
necessary’ witness. It reads in relevant
part:
Before an advocate will be disqualified
under Colorado Rule 3.7, it must be
‘likely’ that the lawyer will be a
‘necessary’ witness. ... The
‘necessary’ witness standard is
recognized as requiring ‘an even more
specific showing of necessity’ than the
code. [citation omitted] [Rule 3.7(a)
requires a showing that the proposed
testimony is relevant, material and
unobtainable elsewhere]. It has been
held that the advocate’s testimony must
be necessary, and not merely cumulative,
and that the court may delay ruling on a
motion to disqualify until we can
determine whether another witness can
testify."

The court in World Youth Da Inc., supra, emphasized that
it is the movant that has the burden to establish the grounds for
disqualification.

In this case, attorney Jody Leslie represented Plaintiffs in
the Brian Wilson conservatorship proceeding. As Ms. Leslie can

testify, the discovery conducted in that proceeding yielded the

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documents and information which Langberg was prepared to make
available to HarperCollins prior to publication. Because Ms.
Leslie was personally involved in all facets of the
conservatorship proceeding, she can testify to the fact that the
documents and evidence relating to Brian Wilson’s emotional
stability -- the identification of which constitutes the lion’s
share of the Langberg declaration -- were in her possession and
that of Langberg before HarperCollins published the defamatory
book. She can also testify that Plaintiffs were prepared to
provide that material to HarperCollins prior to publication.
Simply stated, Ms. Leslie can provide essentially the same
testimony as Mr. Langberg.

Because Ms. Leslie is completely competent to testify as to
these matters, and in light of Defendant’s objection to
Langberg’s testimony, Plaintiffs will, if desired by the Court,
withdraw the Langberg declaration and submit in its place the
declaration of Jody Leslie. An agreement by Plaintiffs that
Mr. Langberg will not testify at trial eliminates the need for
further consideration of this motion. Relo Insurance Group, Inc.
v. Salisbury, 1994 U.S. Dist. Lexis 6309 (1994) ("in addition,
plaintiff agrees not to call Reid as a witness to testify on

behalf of RIG."); Caplan v. Fellheimer, 876 F. Supp. 710, 711

(E.D. Penn. 1995). ("this will also give Caplan the opportunity to
make strategic decisions, such as whether to stipulate that Ewing
will not testify, in order to guarantee that he can be your

advocate at trial.")

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Applicable case law supports the position that Langberg is

not a necessary witness. In Household Commercial Financial

Services, Inc. v. Julius Trum et_al., 1995 U.S. Dist. LEXIS

6921 (1995), the court denied a motion for disqualification
stating "if alternative evidence is available, defense counsel
certainly should not gain the tactical advantage of
disqualification of plaintiff’s counsel." The Court found that
the attorney in question was not a necessary party since other
witnesses and certain documents could provide essentially
identical information. See also, Michael Kubin v. Larry M.
Miller v. Corinthian Media, Inc., et al., 801 F. Supp. 1101, 1113
(S.D.N.Y. 1992); World Youth Day, Inc., supra, at 1302 (granting
motion to disqualify because the attorney was the "only
individual . . . with knowledge of many relevant and material
facts.") Along these lines, it has been held that when other
evidence is offered on the same subject matter as that attested
to by counsel, counsel’s testimony will be considered cumulative.
Pittman v. Currie, 414 F.2d 423 (Miss. 1982). When an attorney’s
testimony is merely cumulative, he is not a necessary witness.
World Youth Day, Inc., supra, at 1302.
The court, in Gaull v. Wyeth Laboratories, Inc., 687 F.

Supp. 77, 80 (S.D.N.Y. 1988) explained:

"The court concludes that disqualification is

inappropriate in the circumstances of this

case, since Mr. Moran is not a necessary

witness. The court now prohibits either

party from calling him as a witness. The

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court finds that his testimony, where
irrelevant to the issues involved in this
case, would be merely cumulative to the
written record of the interview with the
Examiner which is part of the patent offices
file, and to Dr. Gaull’s testimony."

In the case at bar, Mr. Langberg’s testimony is foundational
to establishing the information that would have been provided to
Defendant HarperCollins had inquiry been appropriately made
following receipt of Mr. Langberg’s letter. That foundational
testimony, simply identifying what would have been provided does
not require disqualification here. At trial, Ms. Leslie will
testify as to what would have been available and provided to
HarperCollins. As to the substantive contents of that
information, the documents will be introduced and the witnesses
will be called to establish the truth of the matters. The
statements in Mr. Langberg’s declaration in opposition to
Defendant’s motion for summary judgment simply establish what
would have been provided to HarperCollins and the content of that
information. Mr. Langberg’s declaration does not seek to
establish the truth of that content. Had HarperCollins conducted
the appropriate investigation, HarperCollins would have
established the truth of the content by interviewing the
available witnesses. HarperCollins would have received a copy of
Dr. O’Connor’s report and, having evaluated it, would have
undoubtedly sought to interview Dr. O’Connor and Carl Wilson.

Based on the foregoing, at trial, Ms. Leslie will be called as a

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witness to establish what would have been provided to
HarperCollins and Dr. O’Connor and Carl Wilson will be called to
establish the facts of the matters contained therein.

Because Ms. Leslie will be able to testify regarding the
substance of the Langberg declaration and can at this time
provide a declaration that is essentially identical thereto, and
because Langberg’s letter to HarperCollins itself will be

evidence, Langberg’s testimony is not necessary.

IV. LANGBERG CANNOT BE DISQUALIFIED BECAUSE HIS TESTIMONY
RELATES TO AN ESSENTIALLY UNCONTESTED MATTER.

New Mexico Rule of Professional Conduct 16-307 (a) (1)
provides that even when a lawyer is considered a necessary
witness, he may nevertheless act as an advocate at trial if his
"testimony relates to an uncontested issue." Defendant has
attempted to impose an erroneous and overbroad interpretation on
this language. In footnote 1 on page 4, Defendant alleges,
without support, that the subject matter of Mr. Langberg’s and
Ms. Drooz’s proposed testimony ". . . is the very basis of their
claim." In essence, Defendant is taking the position that the
phrase “uncontested issue" means the ultimate legal issue --
here, the issue of malice. However, reference to applicable case
law quickly dispenses with this strained interpretation.

It is clear that Defendant does not contest the fact that it
received Mr. Langberg’s August 8, 1991 letter (see Defendant’s

Reply Memorandum of Law in Support of Defendant’s Motion for

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Summary Judgment, p. 15)? Further, Defendan does not deny that
Dr. O’Connor conducted a psychological evaluation of Brian Wilson
and prepared a report. (Defendant’s Reply Memorandum of Law in
Support of Defendant’s Motion for Summary Judgment, p. 13).
Further, Defendant nowhere contests that had it responded to
Mr. Langberg’s letter Carl Wilson and Audree Wilson would have
been made available for interview. The lack of contested matter
in Mr. Langberg’s declaration negates the validity of Defendant’s
motion to disqualify. The relevance of Mr. Langberg’s
declaration is to show an element of HarperCollins’ purposeful
avoidance of truth. It is uncontested that Mr. Langberg’s letter
was received by HarperCollins, that Dr. O’Connor’s evaluation was
whatever it was, and that Carl and Audree Wilson would have been
available for interview. HarperCollins’ state of mind is at
issue here and the fact that it was informed of the availability
of the information set forth in Mr. Langberg’s declaration is a
relevant issue and those facts are uncontested. As the court
stated in Arkansas Blue Cross and Blue Shield, Inc. v. Doe, 733
S.W. 2a 429, 434:

"None of his testimony related to an issue in

controversy nor conflicted with the testimony

of any other witness. ... The symptoms

that the father described were not in issue.

The material issue in the case was not what

her symptoms were, but the conclusions to be

lEven if, as Defendants contend, the letter "scarcely
constitutes a water pistol," Defendants do not deny that they
were squirted.

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reached from that agreed upon medical
history.

The commentary to Rule 3.7... . recognizes,
however, that if the testimony is
uncontested, the ambiguities resulting from

the dual role become purely theoretical."

In United States v. Auxiliary to the Knights of St. Peter

Claver, 1990 U.S. Dist. Lexis 7882 (S.D. of Ind. 1992) the court

stated:

"The bulk of his declaration was apparently
intended as foundation for the IRS agent’s
report, and (as shown by the defendant’s
response to the plaintiff’s motion for
partial summary judgment), the statements are

largely uncontested."

The court in Knights of St. Peter ruled that Rule 3.7 did

not necessitate the disqualification of counsel.

Vv. ASSOCIATE DEBBIE DROOZ IS NOT PRECLUDED BY THE NEW MEXICO

RULES OF PROFESSIONAL CONDUCT.

Rule 16-307(B) states that "a lawyer may act as advocate in

a trial in which another lawyer in the lawyer’s firm is likely to

be called as a witness unless precluded from doing so by Rule

16-107 or 16-109." Debbie Drooz, an associate of Mr. Langberg,

is merely “another lawyer in [Mr. Langberg’s] firm." Ms. Drooz

is not precluded by the rule from testifying at the time of

trial,

if necessary. Greenebaum-Mountain Mortgage Co. v. Pioneer

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Nat. Title Ins. Co.,

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v. Maglia, Inc., 621 F. Supp.

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1976); Lumbard

1985); Federal

Deposit Insurance Corporation v. United States Fire Insurance

Co., 50 F.3d 1304 (5th Cir.

Pacific Tea Co.,

VI. CONCLUSION.

603 S.W.2d 645 (Mo. App.

1995); Haack v. Great Atlantic &

1980).

In fact, Defendant’s motion to disqualify counsel is moot.

Barry B. Langberg will not testify at the time of trial and,

according to the New Mexico Rules of Professional Conduct,

Deborah Drooz is completely qualified to testify at trial, if

necessary.

Furthermore, Defendant’s motion, in light of the

facts of this case as set forth above, does not meet the burden

of requiring disqualification of counsel.

motion should be denied.

DATED: November /2, 1995

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Therefore, Defendant’s

Respectfully submitted,

LANGBERG, COHN & DROOZ
Barry B. Langberg
Beth F. Dumas

- and -

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CERTIFICATE OF SERVICE

I certify I caused a true copy of the foregoing pleading to
be hand dew aversi to opposing local counsel, William s. Dixon,
Esq. on this \3 day of November, 1995, ana to be sent via
Federal Express to Mr. Dixon’s co-counsel, R. Bruce Rich, Esq.,
Weil, Gotshal & Manges, 767 Fifth Avenue, New York, New York
10153, on the 1ith day of November, 1995.

TC

Ernesto

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